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                             UNITED STATES DISTRICT COURT
                             SOUTHERN DISTRICT OF FLORIDA


 UNITED STATES OF AMERICA                             CASE NO. 15-20545-CR-LENARD

                                                       CHANGE OF PLEA MINUTES
        vs.

 ISABEL C. SANCHEZ,
                                                  /


        On February 26, 2016 the above named defendant appeared in person before the
 Honorable Joan A. Lenard United States District Judge, with counsel David Howard appointed
 by the Court/retained by the defendant, and said defendant stated in open court that she desired to
 withdraw the plea of not guilty heretofore entered and desired to enter a plea of guilty as to counts
 1, 2 and 9 of the indictment.
        After the defendant was duly sworn, the Court made inquiry as to guilt. The Court being
 satisfied there was a factual basis for the plea, accepted the plea of guilty and found the defendant
 guilty as charged. Whereupon:
          ()    The Court Arraigned the defendant on the Second Superseding Information.
          ( )   The Court proceeded to pronounce sentence. (See J&C)
          (X) The Court postponed sentencing May 13, 2016 at 2:00pm
          (X) The defendant being allowed to remain on bond until sentencing.
          () Modifications of Conditions of Release:
          ()    The defendant being remanded to the custody of the U.S. Marshal until a
        ______________ bond in the amount of $____________ is approved and posted.
         () The defendant being remanded in open court to the custody of the U.S. Marshal
                awaiting sentencing.
 Judge Joan A. Lenard                                   AUSA: William Bowne, III
 Court Reporter Lisa Edwards                            Interpreter: English
 Courtroom Deputy C. Hammond                            Time: 2:30 p.m. – 4:15p.m.
